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____________________________________________________________________________
                                                    SO ORDERED,




                                                    Judge Jason D. Woodard
                                                    United States Bankruptcy Judge


       The Order of the Court is set forth below. The case docket reflects the date entered.
____________________________________________________________________________

                      UNITED STATES BANKRUPTCY COURT
                   FOR THE NORTHERN DISTRICT OF MISSISSIPPI



In Re: CHRISTOPHER C. NEAL                                                          CHAPTER 13
                                                                                NO: 18-12411 JDW



                      ORDER APPROVING MOTION TO SELL
                   OUTSIDE THE ORDINARY COURSE OF BUSINESS


        THIS CAUSE having come before the Court for consideration of the Motion for
Authority to Sell Outside the Ordinary Course of Business (Dkt. #74) filed by the Debtor,
CHRISTOPHER C. NEAL, and no objections having been filed within the time period
prescribed in the Notice, and the Court finds that said Motion is due to be granted.


        IT IS THEREFORE ORDERED AND ADJUDGED that the Debtor is hereby granted
leave to sell his 1998 850G Case bulldozer VIN: JJG0254874 for $27,000.00 or more and to sell
his 1999 Sakai SV70 compactor VIN: 30089 for $15,000.00 or more.


        IT IS FURTHER ORDERED AND ADJUDGED that the Debtor is hereby authorized to
use the funds to purchase a tractor and dirt pan after obtaining Oxford University Bank’s
(“OUB”) approval to purchase same and OUB is granted a lien or liens on said tractor and dirt
pan with Debtor paying OUB for the costs of recording any UCCs so that OUB can perfect it lien
or liens.
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       IT IS FURTHER ORDERED AND ADJUDGED that sale of each item and the purchase
of replacement collateral by the Debtor must be approved by OUB, but the approval of the sales
and purchases shall not be unreasonably withheld.


       IT IS FURTHER ORDERED AND ADJUDGED that if the cost of the purchase of the
tractor and dirt pan is less than the amount received from the sale of the bulldozer and
compactor, the excess will be applied on Debtor's loan with OUB and OUB will reduce its claim
accordingly, and that OUB is hereby directed to notify the Chapter 13 Trustee should there be
any funds applied on the OUB claim.


       IT IS FURTHER ORDERED AND ADJUDGED that Debtor is hereby directed to pay
any cost incurred by OUB in the recording of UCCs and any other documents required to perfect
its lien on the replacement collateral.


       IT IS FURTHER ORDERED AND ADJUDGED that the Debtor shall, within 15 days of
the sale, report to the Court, the Chapter 13 Trustee, the fact that the property has sold together
with the amount of the funds received from the sale and further Debtor shall report to the Trustee
within 15 days of the purchase of any replacement collateral, with a description of the items
purchased and the amount paid for said items..


                                          **END OF ORDER**

Submitted by:

/s/ Robert Gambrell
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